      Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 1 of 9 PageID #:1



                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FLORENCE MUSSAT, M.D. S.C.,                      )
individually and on behalf                       )              16-cv-7643
of similarly situated persons,                   )
                                                 )
                       Plaintiff,                )
                                                 )
       v.                                        )
                                                 )
RELX INC., d/b/a LEXISNEXIS, and                 )
CORPORATE DOES 1-3,                              )
                                                 )              Trial By Jury Demanded
                       Defendants.               )

                                COMPLAINT - CLASS ACTION

                                       INTRODUCTION

       1.      Plaintiff Florence Mussat, M.D., S.C., (“Plaintiff”), brings this action individually

and on behalf of similarly situated persons to secure monetary and injunctive redress for

Defendants Relx, Inc., d/b/a LexisNexis (“LexisNexis”) and Corporate Does 1-3, (collectively

“Defendants”), unsolicited advertisement in the form of (Exhibit A).

       2.      Notably even after Plaintiff, though her legal counsel, demanded in writing on

February 19, 2015, for Defendant to stop sending faxes to Dr. Mussat’s office, (Exhibit B),

Defendants nevertheless continued to do so in May and June of 2016. (Exhibits C, D).

                                    JURISDICTION AND VENUE

       3.      This Court has jurisdiction under 28 U.S.C. § 1331 (Federal Question) and 47

U.S.C. § 227 (“TCPA”). Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740 (2012); Brill v.

Countrywide Home Loans, Inc., 427 F.3d 446 (7th Cir. 2005).

       4.      Venue and personal jurisdiction in this District are proper because the act

complained of was directed to Plaintiff in Chicago, Illinois.
          Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 2 of 9 PageID #:2




                                                PARTIES

          5.     Plaintiff is an Illinois Corporation located in Chicago, Illinois, Florence Mussat is

the owner of Plaintiff, and Plaintiff is the subscriber to the fax number (773) 868-3700.

          6.     Defendant Relx Inc., doing business in Illinois under the assume name

LexisNexis, is a corporation organized under the laws of Massachusetts.

          7.     LexisNexis includes services to its clients that are focused on monitoring and

reporting health care provider information, and has publically stated that it has “compiled the

largest, most accurate database of medical provider business and professional demographic data

in the United States.”

          8.     Corporate Does 1-3 are believed to have been involved with the approval of and

the sending of the subject form fax, Exhibit A, and are unknown to Plaintiff at this time.

                                                 FACTS

          9.     Under the American Recovery and Reinvestment Act of 2009, all Personal Health

Information (“PHI”) communications must be secure, and therefore doctors use their fax

machines to transmit PHI as part of their business.

          10.    As part of LexisNexis’, and/or one of the Corporate Does 1-3’s, business, it/they

sent or caused to be sent faxes in the form of Exhibit A to healthcare providers in the United

States.

          11.    Faxes in the form of Exhibit A are used by LexisNexis as a means of obtaining or

verifying public information so that it can pass back that information to its customers, on

information and belief, at a cost.

          12.    The form fax, Exhibit A, informs the recipient of the availability of LexisNexus’


                                                 2	  
	  
       Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 3 of 9 PageID #:3



services that, “[w]e [LexisNexis] validate and update the fax in our system so our clients can use

them for clinical summaries, prescription renewals, and other sensitive communications.”

(Exhibit A).

       13.     If a person calls the (612) 746-2853 telephone number listed on the bottom of the

subject fax, a pre-recorded message will identify that the caller has called “LexisNexus” and in

part also directs the caller to http://www.lexisnexis.com/risk/health-care/ for more information.

       14.     The fax number (866) 699-0422, listed on the subject fax, is a fax number that

reaches LexisNexis, alternatively one of the Corporate Doe Defendants.

       15.     If a person were to type in the web address listed at the bottom of the subject fax,

www.enclarity.com/providerfaqs.php,         the           web   browser     is         directed     to

http://www.lexisnexis.com/risk/health-care/provider-form.aspx, a website believed to be

LexisNexis’.

       16.     On or around February 11, 2015, LexisNexis and/or Corporate Does 1-3, sent or

caused to be sent a fax, a copy of which is attached as Exhibit A.

       17.     Plaintiff received the fax, a copy of which is attached as Exhibit A.

       18.     Plaintiff’s website specifically states following the office’s fax number “(Do not

Fax Advertisements Please)” http://www.fmussatmd.com/contact-chicago-plastic-surgeon/.

       19.     On February 19, 2015, one or more of the Defendants were provided written

notice to stop faxing Dr. Florence Mussat. (Exhibit B).

       20.     On or around May 25, 2016, LexisNexis and/or Corporate Does 1-3, sent or

caused to be sent a fax, a copy of which is attached as Exhibit C.

       21.     Plaintiff received the fax, a copy of which is attached as Exhibit C.

       22.     On or around June 8, 2016, LexisNexis and/or Corporate Does 1-3, sent or caused


                                                  3	  
	  
       Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 4 of 9 PageID #:4



to be sent a fax, a copy of which is attached as Exhibit D.

       23.     Plaintiff received the fax, a copy of which is attached as Exhibit D.

       24.     Plaintiff attempted again to stop the faxes from being sent to the office and went

to the website www.enclarity.com/providerfaqs.php, wherein the web browser was directed to

http://www.lexisnexis.com/risk/health-care/provider-form.aspx.

       25.     The     website     http://www.lexisnexis.com/risk/health-care/provider-form.aspx

contains information about multiple products that LexisNexis offers, including “Clinical

Analytics”, “Fraud, Waste and Abuse”, “Data Management and Services”, “Identity

Management, and “Revenue Cycle Optimization.”                 http://www.lexisnexis.com/risk/health-

care/provider-form.aspx. (Exhibit E).

       26.     Along with the available products that LexisNexis offers is a “Provider Form”

with at the bottom a box followed by the text, “To opt-out, check here – please include fax

number above.”

       27.     It is unknown if a person can use this website to opt-out of receiving future faxes,

faxes that are certain to be sent as the subject fax states in part, “[t]his information will be

verified once each year.” (Exhibits A, C, D).

       28.     Plaintiff submitted a Provider Form in an attempt to stop future faxes from being

sent to the fax number (773) 868-3700.

       29.     The link “Revenue Cycle Optimization” when clicked on takes the web browser

to http://www.lexisnexis.com/risk/health-care/revenue-cycle-optimization.aspx which describes

a similar product used by Plaintiff’s office that is a non-LexisNexis product, DrChrono.

       30.     Therefore in order to attempt to stop future unwanted faxes, Plaintiff was required

to view a website that contained links to products and services offered by LexisNexis.


                                                4	  
	  
       Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 5 of 9 PageID #:5



       31.     The website http://www.lexisnexis.com/risk/health-care/, as stated in the

prerecorded voice message that is played when a caller calls the telephone number on the bottom

of the subject fax, (612) 746-2853, also contains information about multiple products that

LexisNexis offers, including “Clinical Analytics”, “Fraud, Waste and Abuse”, “Data

Management and Services”, “Identity Management, and “Revenue Cycle Optimization.”

(Exhibit F).

                                   COUNT I
                      TELEPHONE CONSUMER PROTECTION ACT

       32.      Plaintiff incorporates paragraphs 1-31 herein.

       33.     The TCPA makes unlawful the “use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone facsimile machine .

. . .” 47 U.S.C. §227(b)(1)(C).

       34.     The TCPA defines “unsolicited advertisement” as any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's prior express invitation or permission. 47 U.S.C.S. § 227(a)(4)

       35.     Exhibits A, C and D, in part, informs the recipient of services and products that

LexisNexis offers to its clients and how its products and services can benefit the recipient.

       36.     Exhibits A, C and D, in part, informs the recipient of a website

www.enclarity.com/providerfaqs.php which when visited will direct the web browser to

http://www.lexisnexis.com/risk/health-care/provider-form.aspx which informs the person who is

visiting the site of the LexisNexis products and services that are available, in addition to perhaps

an opt-out form. (Exhibit E).

       37.     The website http://www.lexisnexis.com/risk/health-care/, as stated in the

prerecorded voice message that is played when a caller calls the telephone number on the bottom

                                                5	  
	  
       Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 6 of 9 PageID #:6



of the subject fax, (612) 746-2853, also contains information about multiple products that

LexisNexis offers, including “Clinical Analytics”, “Fraud, Waste and Abuse”, “Data

Management and Services”, “Identity Management, and “Revenue Cycle Optimization.”

(Exhibit F).

        38.     Exhibits A, C and D promotes LexisNexis’ name, logo, contact information and

website.

        39.     The websites that the fax and the telephone message, corresponding to the

telephone number on the fax, all promote the commercial availability of LexisNexis’ services.

        40.     Exhibits A, C and D are a part of LexisNexis’ overall marketing plan to raise

health care providers’ awareness of LexisNexis’ services.

        41.     Exhibits A, C and D is a part of on or more of the LexisNexis’ overall marketing

plan to gather information from health care providers so that it can sell it at a profit to its

customers.

        42.     Exhibits A, C and D are advertisements.

        43.     Exhibits A, C and D were unsolicited.

        44.     Exhibits A, C and D were sent without Plaintiff’s express consent.

        45.     Exhibits A, C and D were sent without an established business relationship with

Plaintiff.

        46.     Plaintiff’s opt-out was not honored as to the two subsequent faxes, Exhibits C and

D, were sent.

        47.     Exhibits A, C and D do not contain a compliant opt-out notice as required by the

TCPA.

        48.     The “Provider Form” with at the bottom a box followed by the text, “To opt-out,


                                               6	  
	  
        Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 7 of 9 PageID #:7



check     here        –      please    include     fax           number   above”   on   the   web    page

http://www.lexisnexis.com/risk/health-care/provider-form.aspx does not comply with the TCPA.

        49.      Unsolicited fax advertising is contrary to Illinois public policy, as set forth in 720

ILCS 5/26-3(b), which makes it a petty offense to transmit unsolicited fax advertisements to

Illinois residents.

        50.      Plaintiff’s and each class member’s right of privacy was invaded, costs of toner

and ink were incurred, or time to review and delete the subject form faxes were expended.

        WHEREFORE, Plaintiff requests that this Honorable Court to:

                          a. Certify that this matter may proceed as a class action;

                          b. Enter judgment in favor of Plaintiff and a certified class of all persons who

                             were sent a fax in the form of Exhibit A, and its was received, four years

                             prior to the filing of this Complaint, and against Defendants for damages

                             under the TCPA including damages for willful conduct;

                          c. Enter judgment in favor of Plaintiff and the class and against Defendants

                             for Injunctive relief prohibiting Defendants from sending faxed

                             advertisements without consent or a prior established business

                             relationship, and from sending faxes that do not contain an opt-out notice

                             that complies with the TCPA;

                          d. Enter a judgment declaring that subject faxes sent to Plaintiff were

                             unsolicited;

                          e. Enter a judgment declaring that subject faxes sent to Plaintiff failed to

                             provide an opt-out notice compliant with the TCPA;

                          f. Enter a determination that Plaintiff is an adequate class representative;


                                                         7	  
	  
       Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 8 of 9 PageID #:8



                 g. Enter a determination that Plaintiff’s counsel is adequate class counsel;

                 h. Award Plaintiff a fair, reasonable and adequate incentive award for being

                    the named Plaintiff; and

                 i. Award costs of suit, including an award of attorney’s fees if permissible.


                                    Respectfully submitted,

                                    s/ Curtis C. Warner
                                       Curtis C. Warner
Curtis C. Warner
Warner Law Firm, LLC
350 S. Northwest HWY Ste. 300
Park Ridge, IL 60068
(847) 701-5290 (TEL)
cwarner@warnerlawllc.com


                             TRIAL BY JURY DEMANDED

       PLEASE TAKE NOTICE that Plaintiff demands a trial by jury.

                                    Respectfully submitted,

                                    s/ Curtis C. Warner
                                       Curtis C. Warner

Curtis C. Warner
Warner Law Firm, LLC
350 S. Northwest HWY Ste. 300
Park Ridge, IL 60068
(847) 701-5290 (TEL)
cwarner@warnerlawllc.com




                                               8	  
	  
       Case: 1:16-cv-07643 Document #: 1 Filed: 07/28/16 Page 9 of 9 PageID #:9



                        DOCUMENT PRESERVATION REQUESTS

       PLEASE TAKE NOTICE that Defendants are requested to preserve all documents that

relate to the identity of any potential putative class members who would have been send a fax in

the form of Exhibit A going back four years from the filing of this complaint, including all fax

logs, fax numbers, address and names. Defendants are further requested to preserve any and all

documents which show any expressed prior consent to receive faxes in the form of Exhibit A.

Defendants are requested to preserve any and all documents which show any established

business relationship with any potential putative class members.        Defendants are further

requested to preserve the webpages http://www.lexisnexis.com/risk/health-care/provider-

form.aspx and http://www.lexisnexis.com/risk/health-care/ and all links and those webpages

listed therein.   Defendants are further requested to preserve and not to alter the website

www.enclarity.com/providerfaqs.php and all capabilities of directing a web browser that

accesses the website to any other website.

                                     Respectfully submitted,

                                     s/ Curtis C. Warner
                                        Curtis C. Warner

Curtis C. Warner
Warner Law Firm, LLC
350 S. Northwest HWY Ste. 300
Park Ridge, IL 60068
(847) 701-5290 (TEL)
cwarner@warnerlawllc.com




                                              9	  
	  
